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     In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 21-0105V
                                         UNPUBLISHED


    MICHELLE LAING,                                             Chief Special Master Corcoran

                          Petitioner,                           Filed: January 14, 2022
    v.
                                                                Voluntary dismissal; Order
    SECRETARY OF HEALTH AND                                     concluding proceedings.
    HUMAN SERVICES,

                         Respondent.



                             ORDER CONCLUDING PROCEEDINGS 1

        On January 5, 2021, Michelle Laing filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa—10 through 34. 2
Petitioner alleged that she developed Shoulder Injuries Related to Vaccine
Administration (SIRVA) from a flu vaccine she received on September 6, 2019. Petition
at 1. On December 20, 2021, Petitioner submitted a notice of voluntary dismissal.

      In light of Petitioner filing a “notice of dismissal at any time before service of
respondent’s report” pursuant to Vaccine Rule 21(a), this case is dismissed without
prejudice. Accordingly, this Order hereby notifies the Clerk of Court that
proceedings “on the merits” of this petition are now concluded, but no judgment
“on the merits” should be entered by the Clerk’s Office.

IT IS SO ORDERED.

                                                     s/Brian H. Corcoran
                                                     Brian H. Corcoran
                                                     Chief Special Master




1
  Although I have not f ormally designated this Order for publication, I am required to post it on the United
States Court of Federal Claims' website because it contains a reasoned explanation f or the action in this
case, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Order will be available
to anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to
identify and move to redact medical or other inf ormation, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this definition,
I will redact such material from public access.
2
    National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
